            Case 2:20-cv-02675-PBT Document 15 Filed 02/22/21 Page 1 of 1




                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

MAJOR GEORGE TILLERY,                         :          CIVIL ACTION
         Petitioner,                          :
                                              :
       v.                                     :          NO.    20-cv-2675
                                              :
KENNETH EASON, et al.,                        :
         Respondents.                         :


                                         ORDER


       AND NOW, this       22ND day of February 2021, upon consideration of Petitioner’s

Motion for Enlargement of Time for Petitioner to file Reply to Respondents’ Response (ECF

No. 14), it is hereby ORDERED that the motion is GRANTED. Petitioner shall file a Reply no

later than June 6, 2021.



                                           BY THE COURT:


                                            /s/ Lynne A. Sitarski            .
                                           LYNNE A. SITARSKI
                                           United States Magistrate Judge
